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                                                                 Attorneys for Defendant GOOGLE LLC
          17
                                            UNITED STATES DISTRICT COURT
          18                              NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN JOSE DIVISION
          19
                   In re Google RTB Consumer Privacy                Case No. 4:21-cv-02155-YGR-VKD
          20
                   Litigation
          21                                                        STIPULATION TO EXTEND TIME
                                                                    FOR DEFENDANT GOOGLE LLC
          22                                                        TO ANSWER PLAINTIFFS’
                                                                    CONSOLIDATED COMPLAINT;
          23                                                        AND PROPOSED ORDER THEREON
          24
                                                                    REFERRAL: Hon. Virginia K. DeMarchi
          25       This Document Relates To:

          26       All Actions
          27

          28
COOLEY LLP                                 STIPULATION TO EXTEND TIME TO ANSWER THE COMPLAINT
ATTORNEYS AT LAW                                                   CASE NO. 4:21-CV-02155-YGR-VKD
                         Case 4:21-cv-02155-YGR            Document 237        Filed 06/17/22      Page 2 of 5




           1              Pursuant to Civil Local Rules 6-1(b) and 6-2, Consolidated Plaintiffs (“Plaintiffs”) and

           2       Defendant Google LLC (“Google”) (collectively, “Parties”), by and through their attorneys of

           3       record, hereby stipulate and agree as follows:

           4              WHEREAS, Plaintiffs filed this action on March 26, 2021 (Dkt. No. 1);

           5              WHEREAS, Plaintiffs filed the Consolidated Class Action Complaint (“Consolidated

           6       Complaint”) on August 27, 2021 (Dkt. No. 80);

           7              WHEREAS, Google filed a Motion to Dismiss on October 1, 2021 (Dkt. No. 93);

           8              WHEREAS, Plaintiffs filed their Opposition to Google’s Motion to Dismiss on October

           9       29, 2021 (Dkt. No. 98);

         10               WHEREAS, Google filed its Reply to Plaintiffs’ Opposition to Google’s Motion to

         11        Dismiss on November 19, 2021 (Dkt. No. 122);

         12               WHEREAS, the Court vacated the hearing on Google’s Motion to Dismiss set for

         13        December 9, 2021 (Dkt. No. 123);

         14               WHEREAS, the Court issued a ruling on Google’s Motion to Dismiss on June 13, 2022,

         15        which triggered Google’s obligation to file an answer to the Consolidated Complaint (“Answer”)

         16        within 21 days (i.e., on or before July 5, 2022, as the 21st day following the Court’s ruling, July

         17        4, 2022, being a federal court holiday);

         18               WHEREAS, the Parties previously agreed to enter into an extension of Google’s deadline

         19        to the Answer, once they received an order that triggered the need for the Answer; and

         20               WHEREAS, good cause exists for this requested extension given Google’s representation

         21        that the length and complexity of the 130-page Consolidated Complaint and the interim July 4th

         22        holiday require that Google have additional time to prepare the Answer; and

         23               WHEREAS, the Parties having met and conferred, Plaintiffs stipulate and agree that

         24        Google may, subject to Court approval, have an additional 10 days to file its Answer;

         25               NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties that

         26        Google shall file an Answer to the Consolidated Complaint no later than July 15, 2022 at 5:00

         27        PM.

         28                                   STIPULATION TO EXTEND TIME TO ANSWER THE COMPLAINT
COOLEY LLP                                                            CASE NO. 4:21-CV-02155-YGR-VKD
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                   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
           1
                   Dated: June 17, 2022
           2

           3       PRITZKER LEVINE LLP                            COOLEY LLP

           4       By: /s/ Elizabeth Pritzker                     By: /s/ Jeffrey Gutkin
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                                                                  Counsel for Defendant GOOGLE LLC
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COOLEY LLP                                                          CASE NO. 4:21-CV-02155-YGR-VKD
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                   PURSUANT TO STIPULATION, IT IS SO ORDERED.
           1

           2

           3       Dated:
                                                         HON. YVONNE GONZALEZ ROGERS
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COOLEY LLP                                                    CASE NO. 4:21-CV-02155-YGR-VKD
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           1                                               FILER ATTESTATION

           2                   I, Jeffrey M. Gutkin, attest that concurrence in the filing of this document has been

           3       obtained from the other signatories. Executed on June 17, 2022, in Oakland, California.

           4

           5                                                                         /s/ Jeffrey Gutkin
                                                                                   Jeffrey M. Gutkin
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         28                                       STIPULATION TO EXTEND TIME TO ANSWER THE COMPLAINT
COOLEY LLP                                                                CASE NO. 4:21-CV-02155-YGR-VKD
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